Case 2:20-cv-11287-AB-AGR Document 23 Filed 04/20/21 Page 1 of 3 Page ID #:96




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  5
      Attorney(s) for Plaintiff Display Technologies, LLC
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  7
                      IN THE UNITED STATES DISTRICT COURT
  8                 FOR THE CENTRAL DISTRICT OF CALIFORNIA
  9

 10
       DISPLAY TECHNOLOGIES, LLC,                   CASE NO.: 2:20-cv-11287-AB-AGR

 11                       Plaintiff,
                                                    PLAINTIFF’S ANSWER TO
 12    v.                                           DEFENDANT’S
                                                    COUNTERCLAIMS
 13
       PAEDAE, INC. d/b/a GIMBAL
 14
                          Defendant.                JURY TRIAL DEMANDED
 15

 16

 17          PLAINTIFF DISPLAY TECHNOLOGIES, LLC’S ANSWERS TO
            DEFENDANT PAEDAE, INC. d/b/a GIMBAL’S COUNTERCLAIMS
 18

 19
            Now comes Plaintiff, Display Technologies, LLC (“Plaintiff,” “Counterclaim
 20
      Defendant,” and/or “Display”), by and through undersigned counsel, pursuant to
 21
      Federal Rules of Civil Procedure 12, without admission of the legal sufficiency thereof
 22
      and responding only to the factual allegations therein, and states as follows for its
 23
      Answer and Defenses to Defendant and Counter Plaintiff PaeDae, Inc. d/b/a Gimbal’s
 24
      (“Defendant,” “Counterclaim Plaintiff,” and/or “Gimbal”) Counterclaims [Doc. 12]
 25
      (hereafter the “Counterclaims”) as follows:
 26

 27

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                                                1
                        PLAINTIFF’S ANSWER TO DEFENDANT’S COUNTERCLAIMS
Case 2:20-cv-11287-AB-AGR Document 23 Filed 04/20/21 Page 2 of 3 Page ID #:97




  1                                         PARTIES
  2         1.     Display has insufficient knowledge of the allegations contained in
  3   paragraph 1 and therefore denies same.
  4         2.     Admitted.
  5                                     JURISDICTION
  6         3.     Display incorporates by reference each of its answers in paragraphs 1-2
  7   above.
  8         4.     Display admits that jurisdiction is proper.
  9         5.     Admitted.
 10         6.     Display admits that venue is proper.
 11                                         COUNT I
 12         7.     Display incorporates by reference each of its answers in paragraphs 1-6
 13   above.
 14         8.     Display admits that an actual controversy exists concerning infringement
 15   of the ‘723 Patent.
 16         9.     Denied.
 17         10.    Denied.
 18         11.    Display admits that Gimbal seeks a declaratory judgment. Display denies
 19   any remaining allegations contained in paragraph 11.
 20                                  SECOND COUNTERCLAIM
 21         12.    Display incorporates by reference each of its answers in paragraphs 1-11
 22   above.
 23         13.    Display admits that an actual controversy exists regarding validity of the
 24   ‘723 Patent. Display denies any remaining allegations contained in paragraph 13.
 25         14.    Denied.
 26         15.    Denied.
 27         16.    Display admits that Gimbal seeks a declaratory judgment. Display denies
 28   any remaining allegations contained in paragraph 16.
                                                2
                        PLAINTIFF’S ANSWER TO DEFENDANT’S COUNTERCLAIMS
Case 2:20-cv-11287-AB-AGR Document 23 Filed 04/20/21 Page 3 of 3 Page ID #:98




  1                                 PRAYER FOR RELIEF
  2

  3         To the extent a response is required, Display denies that Gimbal is entitled to any
  4   of the relief requested.
  5

  6   Dated: April 20, 2021                  Respectfully submitted,
  7
                                             /s/ Stephen M. Lobbin
  8                                          Stephen M. Lobbin
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 12

 13                                          Attorney(s) for Plaintiff Display
                                             Technologies, LLC
 14

 15                              CERTIFICATE OF SERVICE
 16
             I hereby certify that on April 20, 2021, I electronically filed the above
 17   document(s) with the Clerk of Court using CM/ECF which will send electronic
 18
      notification of such filing(s) to all registered counsel.

 19
                                                    /s/ Stephen M. Lobbin
 20                                                 Stephen M. Lobbin
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                         PLAINTIFF’S ANSWER TO DEFENDANT’S COUNTERCLAIMS
